

People v Ghani (2023 NY Slip Op 04914)





People v Ghani


2023 NY Slip Op 04914


Decided on September 29, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2023

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Sept. 29, 2023.)


KA 20-01463.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vABDUL GHANI, ALSO KNOWN AS ABDUL GHANI HUSSEIN, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion to dismiss appeal granted. Matter remitted to Supreme Court, Erie County, to vacate judgment of conviction and dismiss indictment (see People v Matteson , 75 NY2d 745, 747 [1989]).








